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FoR THE wEsTERN oisTRlcT oF TENNEssEE

 

wEsTERN DlvisloN 05 JUL "B PH h= |3
uNiTEo sTATEs oF AMERicA vi igwa
P|aintiff
vs.
cR. No. 04-20294-0
DANNY McKlNNEY
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDAB¥_E DELAY
AND SETT|NG

 

This cause came on for a change of plea hearing on June 30, 2005. At that time,
counsel for the defendant requested a continuance of the July 5, 2005 trial date in order
to allow for additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Thursdav. Ju|v 21. 2005. at 9:00 a.m.. in Courtroom 3 9th Floor of the

 

Federa| Building, Nlemphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61`(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT |S SO ORDERED this d day of July, 2005.

B RN| E B. D ALD
UN|TED STATES D|STR|CT JUDGE

This document entered on the docket sheet in cruiip£¢a';ce

with sue 55 and/or sam rsch on ‘7 'Z,j 'QS

 

   

UNITED sATE DSTIIC COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20294 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

